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AO 106 (Rev. 04/l0) Application for a Seareh Warrant

UNITED STATES DISTRICT COth'f;-},;,;_- _

 

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for the " \-"U:`t` 29 p

Southern District othio _, __ l
in the Matter of the Search of ) -' _ . 1
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sueJEcT DEVicES A THRouGi-i E, loENTlFleo iN ) ' "
ATTACHMENTA §

APPLICATION FOR A SEARCH WARRANT

l, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (idemij§» the person or describe rae

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located in the SOufhern District of Ohio , there is now concealed (idenn';fj) the

person or describe the property to be Ser`zed)l
See Attachrnent B

 

The basis for the search under Fed. R. Criin. P. 41 (c) is (check one or more):
i!{evidence of a crime;
l!{ contraband, fruits of crime, or other items illegally possessed;
li{property designed for use, intended for use, or used in committing a crime;

El a person to be arrested or a person who is unlawfully restrained

The search is related to a violation of:

Code Sectz'on O]j€ense Descr'r`plion
‘|B U.S.C. 922(9)(1) Fe|on in Possession of Firearms or Ammunition

The application is based on these facts:
See Attached Af'frdavit

I!{ Continued on the attached sheet.

Cl Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3l03a, the basis of which is set forth on the attached sheet.

/l/lal tta/')/

A‘pp]icant ’s sigérture

N|ichael H¢e_l;w_ig_, Special Agent

  
  
 

   

 

  

Sworn to before me and Signed in rny presence “ t z "a;_:_'{?,,\§
Date: L?/ } - ah ny _ Mi~` /
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City and state: Dayton, Ohio MiCl':i@’e";»l-`Ne“:"ma-n' U"»S'-Ma§@'-l'|ate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

lN THE l\/IATTER OF THE SEARCH OF
SUBJECT DEVICES A THROUGH E,

iDENTIFED rN ATTACHMENT A CaS@ NO~

 

 

AFFIDAVIT IN SUPPORT OF AN
APPLICATION UNDER RULE 41 FOR A
WARRANT TO SEARCH AND SEIZE
I, Michael Herwig, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. l make this affidavit in support of an application under Rule 41 of the Federal
Rules of Crirninal Procedure for a search warrant authorizing the examination of property_
electronic devices_which are currently in law enforcement possession, and the extraction from
that property of electronically stored information described in Attachment B.

2. l am a Special Agent with the Federal Bureau of Investigation, and have been
since March 16, 2008. As a Special Agent, l have been assigned to investigate various Dornestic
and International Terrorism matters and arn assigned to the FBI’s Cincinnati Division Joint
Terrorism Task Force. These cases have involved the subject’s use of cellular telephones and
other means of communication As a Special Agent, l have investigated and analyzed the
subject’s use of cellular telephones and other means of communicationl

3. This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowiedge about this matter.

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IDENTIFICATION OF THE DEVICES TO BE EXAMINED
4. The property to be searched is as follows (collectively the “SUBJECT
DEVICES”), as hirther described in Attachrnent A:

a_ a black desktop computer, no brand, model, or serial number visible
(SUBJECT DEVICE A);

b. an Acer laptop computer, Serial Number LXAZNOYUOZQOZ} 5191 1601
(SUBJECT DEVICE B);

c. a Systernax desl<top computer, Serial Number 10623825'/' (SUBJECT
DEVICE C);

d. a LG Cell Phone, l\/lodel KlZO, Serial Number 608VTBB352133, IMEI:
354873073521330 (SUBJECT DEVICE D);

e. a Black ZTE Cell Phone, Model 2956, Serial Number 320274421041, IMEI:
861170032629072 (SUBJECT DEVICE E).

The SUBJECT DEVICES are currently located at the FBI Dayton Resident Agency, Centerville,
Ohio.

5. The applied-for Warrant would authorize the forensic examination of the
SUBJECT DEVICES for the purpose of identifying electronically stored data particularly
described in Attachment B.

PROBABLE CAUSE

6. On March 16, 2018, Affiant became aware of Matthew W. Hetzel (hereinafter
l-IETZEL) when the FBI received a call-in tip that reported threatening statements made by
HETZEL. ln a follow-up interview, conducted with the reporting party (CHS l)l on the same

day, CHS l reported to Affiant that HETZEL was in possession of at least several dozen firearms

 

l CHS l has provided information to the FBI for less than one year. CHS l has a criminal
history involving a prior arrest for auto theft The FBI has not provided any payment to CHS l.
2

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and many thousands of rounds of ammunition CHS l indicated that HETZEL lived and stored
his firearms primarily at his residence, 4495 Infirmary Road, l\/Iiarnisburg, Ohio, 45342
(hereinafter referred to as PR_EMISES l), and that CHS 1 had also seen HETZEL keep several
firearms at the auto shop he operated, located in an outbuilding behind 136 W. l\/lain Street7 West
Carrollton, Ohio (hereinafter referred to as PREMISES 2).

7. On or about March 19, 2018, your Affiant conducted a check of Montgornery
County, Ohio, property records for PREMISES ll The records indicated that the owner of the
property was “Hetzell l\/latthew W,” and that the property was purchased on March 16, 2010. On
May 11, 2018, your Affiant conducted a check of l\/lontgornery County, Ohio, property records
for 136 W. Main Street, West Carrollton, Ohio. The records indicated that the owner of the
property was “Kristin 1\/1 Hetzel.” The records also indicated that PREMISES 2 is listed as an
outbuilding for this address On April 26, 2018, your Affiant observed HETZEL exiting
PREMISES 2. Additionally, records obtained from Dayton Power & Light show that utility
accounts for PREMISES l and PREMISES 2 are in the name of Tornrnie L. Hetzel, HETZEL’s
wife.

8. On March 19, 2018, your Affiant conducted a query of the criminal history of
HETZEL. The query revealed that HETZEL had been convicted on October 17, 1997, of a
Felony of the Third Degree for Corrupting Another with Drugs, in violation of Ohio Revised
Code § 2925.02(a)(4)(A), which is a crime punishable by imprisonment for a term exceeding one
year under Ohio law.

9. On March 22, 2018, CHS 1 reported observing a handgun in PREMISES 2. CHS
1 reported that the gun was located in the drawer of a toolbox. CHS l provided a photograph of

the gun, which depicts an Arcus brand handgun, silver and black in color, S/N 20DE100401.
3

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10. On l\/larch 31, 2018, CHS 1 was at PREMISES 1. CHS l observed a gun safe in
the corner of the detached garage located just north of the residence CHS l observed that,
inside the gun safe, were eight to ten firearms, including both hand guns, and long guns, and one
pistol-gripped shotgun

11. On May 18, 2018, a second FBI confidential human source (CHS 2)2 met with
HETZEL outside of PREMISES l. During their conversation which was consensually recorded,
CHS 2 and HETZEL began discussing how American citizens own firearms to protect
themselves HETZEL stated, “I don’t carry one on me, because it just causes so much trouble
nowadays, but anywhere l’m at, especially if l am at horne, l’m within 20 feet of one, l’m close
enough.” HETZEL went on to state, “Both my daughters, their 18th birthday present, when they
move out, they each got a shotgun to put in their house. My oldest one just turned 21, 1 bought
her a nine millimeter to carry in her purse, for her 21st birthday.”

12. On May 22, 201 S, CHS 1 reported to the FBI that on a day in the early months of
2018, CHS l met with HETZEL at PREl\/IISES l. At that time, CHS l observed multiple
labeled cardboard boxes of .223 ammunition in the bed of HETZEL’s vehicle, which was parked
in the driveway of PREMISES l_

13. On May 18, 2018, your Affiant requested and obtained sales records from Aim
Surplus, LLC in l\/Ionroe, Ohio, a seller of firearms, ammunition and firearms accessories. The
records showed on October 28, 2013, Airn Surplus, LLC sold and shipped an order to “l\/latthew

Hetzel, 4495 Infirmary Rd, Miamisburg, Ol-I 45342.” The order consisted of twenty (20)

 

2 CHS 2 has been a FBI source for over 12 years. The CHS has no criminal history. The CHS
has been paid approximately S90,000 over the course of 12 years, but has not received any

payment related to this investigation
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.223/5.56 magazines with thirty (30) round capacity, and one used Mil. Spec .50 caliber
ammunition can. Aim Surplus records indicated the order type was “Ecommerce (AIM
website).” An Aim Surplus employee advised the FBl that “Ecommerce” indicates that HETZEL
conducted the purchase online rather than coming to the store.
14. On May 29, 2018, the Honorable Sharon L. Ovington, United States Magistrate
Judge for the Southern District of Ohio, issued search warrants authorizing the search of
PREMISES l and PREMISES 2. The search warrants authorized the seizure of Electronic
devices that can access the internet, including but not limited to desktop computers, laptops,
iPads, tablets, cellular telephones, digital video recording devices and storage media, and any
attached storage devices such as thumb drive, external hard drives, CD’s, DVD’s and SD cards.
15. On May 30, 2018, the FBI executed the search warrants for PREMISES 1 and
PREMISES 2. As a result of the execution of these search warrants, the FBI seized 145 firearms,
and ammunition estimated to be in excess of 10,000 rounds Additionally, the following
electronic items were seized pursuant to the search warrants:
a. A Blacl< ZTE Cell Phone, l\/lodel Z956, Serial Number 320274421041, iMEI:

861 170032629072 (SUBJECT DEVICE E), Which was recovered from beside

the bed in HETZEL’s bedroom in PREMISES 1. During a FBI interview on

May 30, 2018, HETZEL stated his phone was a ZTE model and was located

next to his bed.

b. Acer laptop computer, Serial Number LXAZNOY002902151911601
(SUBJECT DEVICE B), which was recovered in a gun safe which also

contained firearms and ammunition in PREMISES l.

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c. Systernax desktop computer, Serial Number 106238257 (SUBJECT DEVICE
C), recovered in the main living area of the house in PREMISES 1. During a
FBl interview on May 30, 2018, HETZEL stated he utilized the desktop
computer located in his living room.

d. Black desktop computer, no brand, model, or serial number visible
(SUBJECT DEVICE A), found near a desk in PREMISES 2.

e. LG Cell Phone, Model K120, Serial Number 608VTBB352133, IMEI:
354873073521330 (SUBJECT DEVICE D), located in the drawer of a tool
chest at PREMISES 2.

16. During FBI interviews of Matthew W. Hetzel, and his wife, Tornmie Hetzel,
conducted on May 30, 2018, both stated that Matthew Hetzel utilized the ZTE cell phone
(SUBJECT DEVlCE E) and the Systemax desktop computer (SUBJECT DEVICE C).
Additionally, Tommie Hetzel claimed to have no knowledge of the Acer laptop (SUBJECT
DEVICE B), which was located in a gun safe along with firearms and ammunition Both the
unlabeled black desktop computer (SUBJECT DEVICE A), and the LG Kl20 cell phone
(SUBJECT DEVICE D), were located in the workplace of Matthew W. Hetzel, among other
property belonging to Hetzel.

17. The SUBJECT DEVICES are currently in the lawful possession of the FBI. They
came into the FBl’s possession pursuant to authorization to seize electronic items in federal
search warrants issued for PREMISES 1 and PREMISES 2. Therefore, while the FBI might
already have all necessary authority to examine the SUBJECT DEVICES, 1 seek this additional
warrant out of an abundance of caution to be certain that an examination of the SUBJECT

DEVICES will comply with the Fourth Amendment and other applicable laws.

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18. The SUBJECT DEVICES are currently in storage at the FBI Dayton Resident
Agency in Centerville, Ohio. ln my training and experience, 1 know that the SUBJECT
DEVICES have been stored in a manner in which their contents are, to the extent material to this
investigation in substantially the same state as they were when the SUBJECT DEVICES first
came into the possession of the FBl.

TECHNICAL TERMS

19. Based on my training and experience, 1 use the following technical terms to
convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data communication
through radio signals. These telephones send signals through networks of
transmitter/receivers, enabling communication with other wireless telephones or
traditional “land line” telephones A wireless telephone usually contains a “call
log,” which records the telephone number, date, and time of calls made to and
from the phone. In addition to enabling voice communications, wireless
telephones offer a broad range of capabilities These capabilities include: storing
names and phone numbers in electronic “add:ress books',” sending, receiving, and
storing text messages and e-mail; taking, sending, receiving, and storing still
photographs and moving video_; storing and playing back audio files; storing
dates, appointments, and other information on personal calendars; and accessing
and downloading information from the Intemet. Wireless telephones may also
include global positioning system (“GPS”) technology for determining the

location of the device

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b. Digital camera: A digital camera is a camera that records pictures as digital
picture files, rather than by using photographic film. Digital cameras use a
variety of fixed and removable storage media to store their recorded images.
images can usually be retrieved by connecting the camera to a computer or by
connecting the removable storage medium to a separate reader Removable
storage media include various types of flash memory cards or miniature hard
drives. Most digital cameras also include a screen for viewing the stored images.
This storage media can contain any digital data, including data unrelated to
photographs or videos.

c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a
handheld digital storage device designed primarily to store and play audio, video,
or photographic files. However, a portable media player can also store other
digital data Some portable media players can use removable storage media
Removable storage media include various types of flash memory cards or
miniature hard drives. This removable storage media can also store any digital
data. Depending on the model, a portable media player may have the ability to
store very large amounts of electronic data and may offer additional features such
as a calendar, contact list, clock, or games

d. GPS: A GPS navigation device uses the Global Positioning System to display its
current location lt often contains records the locations where it has been Some
GPS navigation devices can give a user driving or walking directions to another
location These devices can contain records of the addresses or locations involved

in such navigation The Global Positioning Systern (generally abbreviated

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“GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite
contains an extremely accurate clock. Each satellite repeatedly transmits by radio
a mathematical representation of the current time, combined with a special
sequence of numbers These signals are sent by radio, using specifications that
are publicly available A GPS antenna on Earth can receive those signals When
a GPS antenna receives signals from at least four satellites, a computer connected
to that antenna can mathematically calculate the antenna's latitude, longitude, and
sometimes altitude with a high level of precision

e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used
for storing data (such as names, addresses, appointments or notes) and utilizing
computer programs Some PDAs also function as wireless communication
devices and are used to access the lnternet and send and receive e-mail. PDAs
usually include a memory card or other removable storage media for storing data
and a keyboard and/or touch screen for entering data. Removable storage media
include various types of flash memory cards or miniature hard drives This
removable storage media can store any digital data. Most PDAs run computer
software, giving them many of the same capabilities as personal computers For
example, PDA users can work with word-processing documents spreadsheets,
and presentations PDAs may also include global positioning system ("GPS“)
technology for determining the location of the device

f. Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller
than a notebook, that is primarily operated by touching the screen Tablets

function as wireless communication devices and can be used to access the lnternet

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20.

through cellular networks 802.11 “wi-fi” networks, or otherwise Tablets
typically contain programs called apps, which, like programs on a personal
computer, perform different functions and save data associated with those
functions Apps can, for example, permit accessing the Web, sending and
receiving e-mail, and participating in lntemet social networks

IP Address: An lntemet Protocol address (or simply “lP address”) is a unique
numeric address used by computers on the lntemet. Every computer attached to
the lntemet computer must be assigned an lP address so that lntemet traffic sent
from and directed to that computer may be directed properly from its source to its
destination Most lntemet service providers control a range of IP addresses
Some computers have static-that is, long-term_lP addresses while other
computers have dynamic_that is, frequently changed-113 addresses

lntemet'. The lntemet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the lrrternet,
connections between devices on the lntemet often cross state and international
borders, even when the devices communicating with each other are in the same
state

Based on my training, experience and research, l know that the SUBJECT

DEVICES A, B, and C have capabilities that allow them to serve as a computer, a digital camera,

a means to access the internet, and as a phone to make intemet calls. ln my training and

experience examining data stored on devices of this type can uncover, among other things,

evidence that reveals or suggests who possessed or used the device

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21. Based on my training, experience and research, and from consulting the
manufacturers advertisements and product technical specifications available online at
http://www.zteusa.com, 1 know that SUBJECT DEVICE E has capabilities that allow it to serve
as a wireless telephone digital camera, portable media player, G`PS navigation device and PDA.
In my training and experience examining data stored on devices of this type can uncover, among
other things, evidence that reveals or suggests who possessed or used the device

22. Based on my training, experience and research, and from consulting the
manufacturers advertisements and product technical specifications available online at
http://www.lg.com, l know that SUBJECT DEVICE D has capabilities that allow it to serve as a
computer, a wireless telephone digital camera, a means to access the internet, and as a phone to
make internet calls, portable media player, GPS navigation device and PDA. ln my training and
experience examining data stored on devices of this type can uncover, among other things,
evidence that reveals or suggests who possessed or used the device

23. Based orr my training and experience 1 know that individuals who are involved in
the purchase of firearms and ammunition including those who are prohibited from possessing
these items, often use cellular telephones computers and/or the internet to purchase or exchange
these items As discussed above in paragraph 13, records from Aim Surplus, LLC indicate that
HETZEL purchased ammunition magazines and an ammunition can using an online system.

ELECTRONIC STORAGE AND F()RENSIC ANALYSIS

24. Based on my knowledge training, and experience 1 know that electronic devices
can store information for long periods of time Similarly, things that have been viewed via the
lntemet are typically stored for some period of time orr the device This information can

sometimes be recovered with forensics tools

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25. There is probable cause to believe that things that were once stored on the
SUBJECT DEVICES may still be stored there for at least the following reasons;

a. Based on my knowledge training, and experience l know that computer
files or remnants of such files can be recovered months or even years after they have been
downloaded onto a storage medium, deleted, or viewed via the lntemet. Electronic files
downloaded to a storage medium can be stored for years at little or no cost. Even when files
have been deleted, they can be recovered months or years later using forensic tools This is so
because when a person “deletes” a file on a computer, the data contained in the file does not
actually disappear; rather, that data remains on the storage medium until it is overwritten by new
data.

b. Therefore deleted files, or remnants of deleted files, may reside in free
space or slack space_-that is, in space on the storage medium that is not currently being used by
an active file_for long periods of time before they are overwritten In addition7 a computer’s
operating system may also keep a record of deleted data in a “swap” or “recovery” file

c. Wholly apart from user-generated files, computer storage media_in
particular, computers’ internal hard drives_contain electronic evidence of how a computer has
been used, what it has been used for, and who has used it. To give a few examples, this forensic
evidence can take the form of operating system configurations, artifacts from operating system or
application operation, file system data structures, and virtual memory “swap” or paging files
Computer users typically do not erase or delete this evidence because special software is
typically required for that task. l-lowever, it is technically possible to delete this information

d. Similarly, files that have been viewed via the lnternet are sometimes

automatically downloaded into a temporary lntemet directory or “cache.”

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26. Forensic evidence As further described in Attachment B, this application seeks
permission to locate not only electronically stored information that might serve as direct
evidence of the crimes described on the warrant, but also forensic evidence that establishes how
the SUBJECT DEVICES were used, the purpose of their use who used them, and when There
is probable cause to believe that this forensic electronic evidence might be on the SUBJECT
DEVICES because

a. Data on the storage medium can provide evidence of a file that was once
on the storage medium but has since been deleted or edited, or of a deleted portion of a file (such
as a paragraph that has been deleted from a word processing file). Virtual memory paging
systems can leave traces of information on the storage medium that show what tasks and
processes were recently active Web browsers, e-mail programs and chat programs store
configuration information on the storage medium that can reveal information such as online
nicknames and passwords. Operating systems can record additional information such as the
attachment of peripherals, the attachment of USB flash storage devices or other external storage
media, and the times the computer was in use Computer file systems can record information
about the dates files were created and the sequence in which they were created.

b. Forensic evidence on a device can also indicate who has used or controlled
the device This “user attribution” evidence is analogous to the search for “indicia of
occupancy” while executing a search warrant at a residence

c. A person with appropriate familiarity with how an electronic device works
may, after examining this forensic evidence in its proper context, be able to draw conclusions

about how electronic devices were used, the purpose of their use who used them, and when

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d. The process of identifying the exact electronically stored information on a
storage medium that are necessary to draw an accurate conclusion is a dynamic process
Electronic evidence is not always data that can be merely reviewed by a review team and passed
along to investigators Whether data stored on a computer is evidence may depend on other
information stored on the computer and the application of knowledge about how a computer
behaves. Therefore contextual information necessary to understand other evidence also falls
within the scope of the warrant

e. Further, in finding evidence of how a device was used, the purpose of its
use who used it, and when, sometimes it is necessary to establish that a particular thing is not
present on a storage medium

27. Nature ofexamr`nan`on. Based on the foregoing, and consistent with Rule
41(e)(2)(B), the warrant l am applying for would permit the examination of the SUBJECT
DEVICES consistent with the warrant. The examination may require authorities to employ
techniques including but not limited to computer-assisted scans of the entire medium, that might
expose many parts of the devices to human inspection in order to determine whether it is
evidence described by the warrant

28. Manner Qfexectitr`on. Because this warrant seeks only permission to examine
devices already in law enforcement’s possession, the execution of this warrant does not involve
the physical intrusion onto a premises Consequently, 1 submit there is reasonable cause for the
Court to authorize execution of the warrant at any time in the day or night.

CONCLUSION
29. Based on the aforementioned factual information 1 respectfully submit that there

is probable cause to believe that evidence fruits and instrumentalities of violations of federal

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law, including 18 U.S.C. § 922(g), are present within the information located on the SUBJECT
DEVICES described in Attachment A. l, therefore respectfully request that attached warrant be
issued authorizing the search and seizure of the items listed in Attachment B.
REOUEST FOR SEALING

30. lt is respectfully requested that this Court issue an order sealing, until further
order of the Court, all papers submitted in support of this application including the application
and search warrant l believe that sealing this document is necessary because the warrant is
relevant to an ongoing investigation Premature disclosure of the contents of this affidavit and
related documents may have a significant and negative impact on the continuing investigation
and may severely jeopardize its effectiveness

Respectfully submitted,

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Michael Herwig
Special Agent
Federal Bureau of lnvestigation

 

 

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MrcHA`EL J Newr\fnrf,/
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ATTACHMENT A
The property to be searched are the following SUBJECT DEVICES A through E,
which are currently located at the FBI Dayton Resident Agency, Centerville Ohio. This warrant
authorizes the forensic examination of SUBJECT DEVICES A through E for the purpose of
identifying the electronically stored information described in Attachrnent B.

l. SUBJECT DEVICE A: The property to be searched is a black desktop computer, no

brand, model, or serial number visible Photographs of SUBJECT DEVICE A are below.

 

 

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2. SUB.IECT DEVICE B: The property to be searched is an Acer laptop computer,

Serial Number LXAZNOYOO290215191 1601. Photographs of SUBJECT DEVICE B are below.

LXAZNB

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3. SUBJECT DEVICE C: The property to be searched is a Systemax desktop

computer, Serial Number 106238257. Photographs of SUBJECT DEVICE C are below.

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4. SUBJECT DEVICE D: The property to be searched is a LG Cell Phone, l\/[odel

K120, Serial Number 608VTBB352133,1ME]: 354873073521330. A photograph of SUBJECT

DEVICE D is below.

LG li`rliliii‘iiliiulnri
tmtr: stittaettsaltte

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5. SUBJECT DEVICE E: The property to be searched is a Black ZTE Cell

Phone, Model Z956, Serial Number 320274421041, IMEI: 861 170032629072. A photograph of

SUBJECT DEVICE E is below.

 

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ATTACHMENT B

All records on SUBJECT DEVICES A through E described in Attachment A that relate
to violations of Title 18 U.S.C. § 922(g)(l) and involve Matthew W. Hetzel, including:

3..

Electronic logs records payment receipts notes photos videos customer lists
ledgers records or communications relating to the transportation, orderirrg,
purchasing, and/or sale of firearms and/or ammunition;

Electronic addresses and/or telephone books and papers reflecting names e-mail
and physical addresses and/or telephone numbers of individuals partnerships or
corporations involved in the purchasing or selling of firearms to/from prohibited
persons;

records of lntemet activity, including firewall logs caches, browser history and
cookies “bookmarked” or “favorite” web pages search terms that the user
entered into any lntemet search engine and records of user~typed web addresses

any information related to lntemet Protocol (IP) addresses and Wi-Fi accounts
accessed by the device

any GPS information on the device

all bank records checks credit card bills account information and other financial
records

Evidence of user attribution showing who used or owned the device at the time
the things described in this warrant were created, edited, or deleted, such as logs
phonebooks, saved usernames and passwords, documents and browsing history.

As used above the terms “records” and “information” include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that
can store data) and any photographic form.

The authorization includes the seizure and search of electronic data to include deleted
data, remnant data and slack space

